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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (CTG)
                                                                  )
                             Debtors.                             )     (Jointly Administered)
                                                                  )

                                                       Objection Deadline: September 13, 2023 at 4:00 p.m. (ET)
                                                           Hearing Date: September 26, 2023 at 12:00 p.m. (ET)

     NOTICE OF HEARING ON APPLICATION FOR ENTRY OF AN ORDER
         (I) AUTHORIZING THE RETENTION AND EMPLOYMENT
  OF DUCERA PARTNERS LLC AS INVESTMENT BANKER TO THE DEBTORS
EFFECTIVE AS OF THE PETITION DATE, AND (II) GRANTING RELATED RELIEF

                 PLEASE TAKE NOTICE that, on August 30, 2023, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), filed the Application for Entry of

an Order (I) Authorizing the Retention and Employment of Ducera Partners LLC as Investment

Banker to the Debtors Effective as of the Petition Date, and (II) Granting Related Relief (the

“Application”) with the United States Bankruptcy Court for the District of Delaware, 824 Market

Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the

Application is attached hereto.

                 PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application must be filed with the Bankruptcy Court on or before September 13, 2023 at

4:00 p.m. prevailing Eastern Time.

                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the Debtors, Yellow Corporation, 11500

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    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.



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Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed

counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654,

Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601

Lexington      Avenue,       New   York,     New        York     10022,    Attn.:   Allyson   B.   Smith

(allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North Market

Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis Jones

(ljones@pszjlaw.com),        Timothy   P.     Cairns      (tcairns@pszjlaw.com),      Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of United

States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.:           Jane Leamy (jane.m.leamy@usdoj.gov) and Richard

Shepacarter (richard.shepacarter@usdoj.gov); and (iv) proposed counsel to the Committee,

(A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New

York, NY 10036-6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.

Lahaie     (mlahaie@akingump.com),          and       Kevin    Zuzolo     (kzuzolo@akingump.com)     and

(B) proposed co-counsel to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313

North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover

(jhoover@beneschlaw.com) and Kevin M. Capuzzi (kcapuzzi@beneschlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON SEPTEMBER 26,

2023 AT 12:00 P.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE



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CRAIG T. GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE

UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824

MARKET STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE

19801.


Dated: August 30, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
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                                           Allyson B. Smith (admitted pro hac vice)
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                                           Proposed Co-Counsel for the Debtors and Debtors in
                                           Possession




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